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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

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                                                               :   MDL Docket No. 1629
In re: NEURONTIN MARKETING,                                    :
         SALES PRACTICES AND                                   :   Master File No. 04-10981
         PRODUCTS LIABILITY LITIGATION                         :
                                                               :   Judge Patti B. Saris
---------------------------------------------------------------x
                                                               :   Magistrate Judge Leo T. Sorokin
THIS DOCUMENT RELATES TO:                                      :
                                                               :
Smith v. Pfizer Inc., 1:05-cv-11515-PBS                        :
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              DECLARATION OF ANDREW G. FINKELSTEIN, ESQ.
     IN OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        I, Andrew G. Finkelstein, declare and state as follows:

        1.       My name is Andrew G. Finkelstein. I am a partner with the firm of Finkelstein &

Partners, LLP, attorneys for Plaintiff Ruth Smith, in this matter. I make this declaration based on

my own personal knowledge and information.

        2.       This declaration is submitted in opposition to Defendants Pfizer Inc. and Warner-

Lambert Company LLC’s Motion for Summary Judgment. (ECF Doc. # 1641.)

        3.       Attached as Exhibit 1 is a true and correct copy of May 19, 2004 correspondence

from Christopher L. Wood, D.D.S.

        4.       Attached as Exhibit 2 is a true and correct copy of the Order and Memorandum

Opinion by the Honorable Mark J. Bernstein, J., dated June 29, 2007, in Clark v. Pfizer Inc.,

Phila. Ct. Comm. Pleas, June Term, 2004, No. 1819.

        5.       Attached as Exhibit 3 is a true and correct copy of the Opinion of the Honorable

Mark I. Bernstein in Clark v. Pfizer Inc., Phila. Ct. Comm. Pleas, June Term, 2004, No. 1819.
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       6.      Attached as Exhibit 4 is a true and correct copy of the Order and Opinion of the

Honorable Mark I. Bernstein, dated February 9, 2009, in Clark v. Pfizer Inc., Phila. Ct. Comm.

Pleas, June Term, 2004, No. 1819.

       7.      Attached as Exhibit 5 is a true and correct copy of the Division of

Neuropharmacological Drug Products Combined Medical-Statistical Review dated Jan. 31, 1992.

       8.      Attached as Exhibit 6 is a true and correct copy of the Genentech October 2008

“Dear Doctor Letter” re: Raptiva.

       9.      Attached as Exhibit 7 is a true and correct copy of FDA’s Combined Medical-

Statistical Review, December, 1992 marked for identification as Exhibit 31 deposition of Janeth

Turner on October 11, 2007.

       10.     Attached as Exhibit 8 is a true and correct copy of excerpts from the deposition of

Janeth Turner (Oct. 12, 2007).

       11.     Attached as Exhibit 9 is a true and correct copy of excerpts from the expert report

of Professor Michael Trimble, M.D.

       12.     Attached as Exhibit 10 is a true and correct copy of excerpts from the expert

report of Stefan P. Kruszewski, M.D.

       13.     Attached as Exhibit 11 is a true and correct copy of excerpts from the deposition

of Paul R. McCombs, III , M.D. (June 8, 2007).

       14.     Attached as Exhibit 12 is a true and correct copy of excerpts from the deposition

of Edward Mackey, M.D. (May 23, 2007).

       15.     Attached as Exhibit 13 is a true and correct copy of Defendants’ sales

representatives’ call records.




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       16.     Attached as Exhibit 14 is a true and correct copy of excerpts from the deposition

of Lucy Castro (July 10, 2007).

       17.     Attached as Exhibit 15 is a true and correct copy of the Memorandum re

Neurontin (gabapentin), dated December 7, 2000.

       18.     Attached as Exhibit 16 is a true and correct copy of Defendants’ sales

representative call records regarding Drs. Clendenin and Nichols.

       19.     Attached as Exhibit 17 is a true and correct copy of Defendants’ sales

representative call records of Ashley Pippin.

       20.     Attached as Exhibit 18 is a true and correct copy of the sample distribution list.

       21.     Attached as Exhibit 19 is a true and correct copy of Defendants’ sales

representative call records regarding Paul R. Combs, III, M.D.

       22.     Attached as Exhibit 20 is a true and correct copy of the expert report of Charles

King III, dated October 22, 2007.

       23.     Attached as Exhibit 21 is a true and correct copy of excerpts from the deposition

of Cindy Smith-Charlton (Oct. 13, 2007).

       24.     Attached as Exhibit 22 is a true and correct copy of excerpts from the deposition

of Ruth Smith (Apr. 12, 2007).

       25.     Attached as Exhibit 23 is a true and correct copy of excerpts from the Deposition

of Professor Michael Trimble (Sept. 2-3, 2008).

       26.     Attached as Exhibit 24 is a true and correct copy of excerpts from the deposition

of Gary Wayne Biggs (Feb. 8, 2008).

       27.     Attached as Exhibit 25 is a true and correct copy of excerpts from the Deposition

of Pamela Krancer (June 8, 2007).




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       28.     Attached as Exhibit 26 is a true and correct copy of excerpts from the deposition

of Lewis Wesley Carnahan (Oct. 23, 2007).

       29.     Attached as Exhibit 27 is a true and correct copy of the Eckerd pharmacy record.

       30.     Attached as Exhibit 28 is a true and correct copy of the Plea Agreement.

       31.     Attached as Exhibit 29 is a true and correct copy of Exhibit 5, marked for

identification at deposition of Gary Wayne Biggs (Feb. 8, 2008).

       32.     Attached as Exhibit 30 is a true and correct copy of the UMC PT records.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on February 23, 2009, in Newburgh, New York



                                                    /s/ Andrew G. Finkelstein
                                                    Andrew G. Finkelstein, Esquire
                                                    Finkelstein & Partners, LLP
                                                    Attorneys for Plaintiff Ruth Smith
                                                    1279 Route 300, P.O. Box 1111
                                                    Newburgh, NY 12551


                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order No. 3 on February 23, 2009.


                                                    /s/ Andrew G. Finkelstein
                                                    Andrew G. Finkelstein, Esquire




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